                          Case 13-53410                 Doc 67                 Filed 01/15/18 Entered 01/15/18 16:10:24                                              Desc Main
                                                                                Document     Page 1 of 15

Debtor'1                         Twillie S. Lovett
                                                                                                            Last Name
                                 fi,rt   n*"                          [i]lddle Name

Debtor 2                         Arnqnthq Loygtt
                                                                      Middle Name                           Last Name
(Spouse lf, filing)              First Name


United States Bankruptcy Court for the:                   MIDDLE DISTRICT OF GEORGIA


Case number
(if knowf   )
                                                                                                                                                                 I   Check if this is an
                                                                                                                                                                     amended filing



Official Form 106D
Schedule D: Greditors Who Have Glaims Secured by                                                                                   Property                                              12t15

                                                                                                                                                                                 lf morespace
                                                                                                                        pages, write your name and case
Beascompreteandaccurateaspossible.rftwomarried.peoplearefiringtogether,.bothareequallyrespoxsibtefor.supplyingcorrectinformation
                                                             ano alttac-n it to this foim. on tne top'of any additional
is needed, copy the Additionat page, fill it out, number tn"                  ",iiri"",
number (if known).
1. Do any creditors have claims secured by your
                                                property?
                                                                                                                               on this form
                                                                     with your other schedules You have nothing else to report
       I        No. check this box and submit this form to the court
       I        Yes. Fill in all of the information below

EEEIil              List A|I,Seqqled clqiqs                                                                                    Column A               cotumnE                  Cilumn    c
                                                                         claim' list the creditor separately
 2. List all secured claims. lf a creditor has more than one secured                                                                                  Value ofcollateral       Unsecured
                                                                   list the other creditors in Part 2 As                       Amount of claim
 for each claim. lf more tnan on" a*ono|. nis a particutar claim,                                                              Do not deducl the      that supports this       Portron
                                                                    to the creditor's name'
 much as possible, list the claims in alphabetical order according                                                             value of collateral.   claim                    lI any

                                                        Describe the property that secures the claim:                                $6,368.00                   Unknown                Unknown
7f      ,rry        Seryciry ILQ
            Creditois Name                              Mortqaqe
            McCalla RaYmer Pierce,
            LLC                                                                            ttl-taim   is:
                                                        as       ot tne oate you -'rfe,                     check all that
            c/o BR DePt                                  apply
            1544 Old Alabama Road                        E       Contingent
            Roswell, GA 3!0Zq
            Number, Street CitY State & ZiP Code         E       Untiquidated
                                                         E       oisputeo
  Who owes the debt? Check one                           Nature of lien. Check all that apply

  fl   oebtor'1 only                                     I       An                   you made (such as mortgage or secured

  fl   Debtor 2 only
                                                                  car"gr""t"nt
                                                                      loan)

  I    D"btor       '1
                         and Debtor 2 only
                                                         E Statutoty lien (such as tax lien' mechanic's               lien)


  E    At least one of the debtors and another           fl Judgment lien from a lawsuit
  !    cnecx if this claim relates to a                  E Otner (including a right to offset)
        community debt

   Date debt was incurred                                              Last 4 digits of account number


                First Southwestern                                                                                                           $0.00               Unknown                Unknown
                                                          Describe the property that secures the claim:
                Financial Servi
                Cfed(of s Name                            vehicle


                                                          As otttre Oatelou fiG, ttre ctaim is: check               all that
                PO Box 487                                apply
                Roy, UT 84067                                fJ   Contingent
                Number Street. Crty, State & zip Code        !    Unliquidated
                                                             E    oisputed
    Who owes the debt? Check one.                            Nature of lien. Check all that apply'

    I Debtor 1 only                                          I    An                   you made (such as mortgage or secured
                                                                   car"gr""."nt
                                                                       loan)
    fl oebtor z only                                                                                            lien)
                                                             EI    Stututory lien (such as tax lien, mechanic's
    I o"btor. 1 and Debtor 2 only
    E Rt Ieast one of the debtors and another                E     Judgment lien from a lawsuit

    E Cnecf if this claim relates to a                       E     Otner (including a right to offset)
            community debt
                                                                        Last 4 digits of account number
     Date debt was incurred
                                                                                                           Property                                                                        page 1 of 2
   Official Form 106D                                     Schedule D: Creditors Who Have Claims Secured by
                                                                                                                                                                                  Best Case BankruPtcY
   Software Copyright (c) 996-201 7 Best Case LLC
                         '1                             -w        bestcase com
                       Case 13-53410                      Doc 67              Filed 01/15/18 Entered 01/15/18 16:10:24                                   Desc Main
                                                                               Document     Page 2 of 15
         1                                                                                                    Case number      (,r lnow)
Debtor       Twillie S. Lovett
             f ir sl   Nare             M   odle   Nffi                         f-."t f.lam.
Debtor   2   Amantha Lovett
             Ftrst     Name             Mrddle Name                             Last Name




 Add the dollar value of your entries in column A on this page. write that number here:                             i             so,s68.oo
 lf this is the last page of your form, add the dollar value totals from all pages'
 Write that number here:                                                                                            !             ta*t         a4

EEEI         r.ic! ethelg     tSle xptillqd fel a Debt f hat !9u Aleqglv                       Ljsled
                                                                                                                                                                  is
                                                                                   a d€bt that you already listed.in P€rt 1. For example, if a collection agency
use this page onty if you have others to be notified about your bankruptcy..for                        lisithe collection agency   here' similarly, if you have more
                                                          dlse, listthe  tr"oito|. in Part 1, and then
trying to collectfrom you fora debtyou owe tosom€on_epart                                                                           persons to be notified for any
than one creditor for any of the debts that you listed in    i'tist ttre additional creditors here. lf you do not have additional
debts in Part 1, do not fill out or submit this page'
TI
u                                                                                                                                                             2'1
         Name, Number, Street, City, State & Zip Code                                                   On which line in Part 1 did you enter the creditor?
         Aldridge Connors, LLP
                                                                                                        Last 4 digits of account number
         Fifteen Piedmont Center, 3575 Piedmont R
         ol"ry oi 1'1?                                                                                                                     -




                                                                                                          by Property                                                     page 2 o1'2
 Official Form 106D                      Additional Page of schedule D: Creditors who Have claims secured
                                                                                                                                                                    Best Case BankruPtcY
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                      Case 13-53410                     Doc 67            Filed 01/15/18 Entered 01/15/18 16:10:24                                         Desc Main
                                                                           Document     Page 3 of 15

Debtor                          Twillie S. Lovetl
                                FiraaMhe                        Middle Name                      Last Name

Debtor 2                        Amantha Lovetl
(Spouse if. filing)             Frrst Name                      Middle   Name                     Last Name



United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF GEORGIA


Case number
(if known)                                                                                                                                            I    Check if this is an
                                                                                                                                                           amended filing


Official Form 106E/F
schedule E/F: creditors who HeIe Unsecured    claimsputt                                                                                                              12115
                                      pRroRrry
                                             part               t for creditors *ith                     for creditors with NoNPRloRlrY claims List the other party to
                                                                                                                   2
Be as comprete and accurate as possible. use                                        "tuir.o "no                                                     Forml06AJB}andon
anyexecutorycontractsorr*riir"Jieasesthatcourdresurtinacraim.               Arsoristexecutorycontracts.onsch.eduleAJB:Property(official
                                                                                 oo not   incrud.eanv".j:*::"y::i
schedure G: Executory contracts and Unexpired r-eases lorrciar      Form 106G).
                                             #?#3::ffi1;ffi;J;,irT'i#;':;,""lli"               *ii$ ;itnJei.t                     ",",H"1:l1mi"1ili,lil"*J.
                                                                                                                                    lrli'lll            the boxes on ,n"
                                                                                                             vo" need,.iir it oui, numberthe entries inpages'
                                                                                                                                                                      the
::ffiilf    3; 51ffi:?3,:;Jl[if
                              page to this page. rf you nru" n6 information  to report in  a part do not  fiie that Part. on  the top of any additional       write""
                                                                                                                                                                    your
reft. Attach the continuation
name and case number (if known).
                                                   q                          s
[l@                List   lll   ol Yqg'    rylgEllY nsec;gry{Qtqif
       Do any creditors have priority unsecured claims against
                                                               you?
 1.
       I tto co to Part 2.
       I     Y""                                                                                                                                                Foreachclaimlisted
                                                                                                                        listthecrediiorseparatelyforeachclaim
 z.    Lista,ofyourpriorityunsecuredcraims.rfacreditorhasmorethanonepriorityunsecuredclaim,                                                               Asmuchas
       identifywhattypeof ctaimrtis.tf actaimhasbothprioritvJninonpiioiityamlunts'ti.ttr'rui"Lirn"iiund.no*bothpriorityandnonpriorityamounts
                                                                                                          priority unsecured claims' fill out the continuation Page of
                                                                                  name. If you have more than two
       possibre, Irst the crarms In alphabeticar order.according to,the creditofs
       Partl.lfmorethanon"".udito.holdsaparticularc|aim,listtheothercreditorsinPart3.
                                                                               form in the instruction booklet
       (For an explanation of each type of claim see the instructions for this
                                                                                                                    )
                                                                                                                           Total claim          Priority             Nonpriority
                                                                                                                                                amount               amount

                                                                         Last 4 digits of account number                           Unknown
  21             Division of Child Support Selticss
                 PttritY CteO,totS ttlame
                                                                         When was the debt incurred?
                 c/o Kevin BradleY
                 4619 Sheraton Drive
                 !4qcpl, GA!1210                                         As of the date you file, the claim is: Check all that apply
                 Number 6treet CrtY State ZIP Code
           Who incurred the debt? Check one                              El   Contingent

           E     Debtor 1 only                                           D    Unliquidated

           !     Debtor 2 only                                           E    Disputed

           I                                                             Type of PRIORITY unsecured claim:
                 D.btot   1 and Debtor 2 only

             E   At least one of the debtors and another
                                                                         I Domestic support obligations
             E   Cnecf if this claim is for a community debt             ! Ta*es and certain other debts you owe the government
             ls the claim subject to offset?
                                                                         E Clait. for death or personal injury while you were intoxicated
             Ito                                                         E other. specity
             E ves




                                                                                                                                                                              Page   1   of   13
   Official Form 106 E/F                                        Schedule E/F: creditors Who Have Unsecured claims
                                                                                                                        5367                                            Best Case BankruPtcY
   Software CopyrLght (c) 1 996-201 7 Best Case LLC -   ww   bestcase com
                                                                                                                               1
                         Case 13-53410                   Doc 67             Filed 01/15/18 Entered 01/15/18 16:10:24                                          Desc Main
Debtor        1    Twillie S. Lovett
                                                                             Document     Page 4 of 15
                                                                                                                      Case number      (it xnow)
Debtor        2    Amantha Lovett

                                                                         Last 4 disits of account       number                         Uqklqwl               Unklgwq       V!!!o!4
i, I             lnleqgl sgvgque Service
                 Priority Creditor's Name
                                                                         When was the debt incurred?
                 PO Box 7346
                 P htlad4Pble,f4        1s I 0't -7   346
                 Number Street CitY State ZIP Code                        As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one                E Contingent
         E Debtor 1 only                               E Unliquidated
         E Debtor 2 only                               EI Disprted
         I D"btor. 1 and Debtor 2 only                 Type of PRIORITY unsecured claim:

         ! nt least one of the debtors and another     E Domestic support obligations
         E cneck if this claim is for a community debt I Tares and certain other debts you owe the
                                                                                                      government

         ls the claim subject to offset?               E  clairs for death or personal injury while you were intoxlcated

         I ruo                                         E otner Specit'y
         E yes                                                             Income Taxes
                                                                                                                                                                                 qn
                                                                                                                                                        n^     9v nn
                                                                                                                                               on              qn uv             vv On
                                                                                                                                                                                    vv
                                                                          Last 4 digits of account number                                      SU.UU
t2;,              Jeanetta Hollis
                  errority CreOltort t'tame
                                                                          When was the debt incurred?
                  12'1   Twin Pines Road

                  fl":t*:4*31, J1}?s"tu zrp c"6"                           As or the date you fire, the craim is: check ail that apprv
             Who incurred the debt? Check one                              fl Contingent
             E    Debtolt only                                             E Unliquidated
             fl   Debtor z only                                            E oisputeo
             I                                                             Type of PRIORITY unsecured claim:
                   D"otor 1 and Debtor 2 only

             E                                another
                  At least one of the debtors and
                                                                           I        Domestic support obligations

             E cnecr if this claim is for a community debt                 E ra"es and certain other debts you owe the government
             ls the claim subject to offset?
                                                                           D Ctaims for death or personal injury while you were intoxicated
             Iruo                                                          E otner. Specify
             I     ves


 2   4
         r



                   Johnetta Hollis                                          Last 4 digits of account number                                        $!   oq     $a   q!           io    qo

                   Pnorny CreOrtor;s Name
                                                                            When was the debt incurred"
                   Div. of CSS
                   Attn.: Kevin BradleY
                   4619 Sheraton Drive

                  d**:!'*H          3r1ff,3,-,0                             As orthe date vou rire, the craim is: check ail that apprv
              Who incurred the debt? Check one
                                                   ""*                      il Contingent
              fl   Debtor 1 only                                            il Unliquidated
              E    Debtor 2 only                                            E Disputed
                                                                            Type of PRIORITY unsecured claim:
              I     D.btot   1 and Debtor 2 only

              !    At least one of the debtors and    another                   I    Domestic support obligations

              DCnecf ifthisclaimisfora communitydebt ETaxesandcertainotherdebtsyouowethegovernment
                                                                                E Claitt for death    or personal injury while you were intoxicated
              ls the claim subject to       offset?
              I uo                                                              E otner. SPecifY
              I ves                                                                                   child suPPort




                                                                                                                                                                              Page 2of      13
  Official        Form106E/F                                       ScheduleEiF:CreditorsWhoHaveUnsecuredClaims
                                                                                                                                                                         Best Case BankruPtcy
  Software Copyright (c) 1 996-201 7 Best Case, LLC -       w   b'estcase com
                       Case 13-53410                    Doc 67               Filed 01/15/18 Entered 01/15/18 16:10:24                              Desc Main
Debtor       1    Twillie S. Lovett
                                                                              Document     Page 5 of 15
             2                                                                                                    Case number      (rt tnow)
Debtor            Amantha Lovett

                                                                                                                                    Unknown       Unknown          Unknown
2   5         KoKeitha sledge                                            Last 4 digits of account number
              Priority Creditoas Name
                                                                         When was the debt incurred?
              Divrsion of Child Support Services
              c/o Kevin BradleY
              4619 Sheraton Drive
              Magoa,G{x1!!Q
              Number Street Citv StateZtP CoOe                           As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one                                E Contingent
         E     Debtor 1 only                                             E Unliquidated
         E     Debtor 2 only                                             E Disputed
         I                                                               Type of PRIORITY unsecured claim:
               D"btor. 1 and Debtor 2 only

         D     nt least one of the debtors and another
                                                                         I     Domestic support obligations

         !cnecrifthisclaimisfora communitydebt                           Era"esandcertainotherdebtsyouowethegovernment
         ls the claim subject to       offset?                           D     C|aims for death or personal injury while you were intoxicated

         Ino                                                              El other.   Specify

         n     ves

                                                                          Last 4 digits of account number                                 $0.00      $0.00              $0.00
               Leloya llgwkins
               Priority Creditor's Name
                                                                          When was the debt incurred?
               Division of Child Support Servlces
               c/o Kevin BradleY
               4619 Sheraton Drive
               Macon. GA 31210
                 tluniUer Street City State Zlp Code                      As of the date you file, the claim is: Check all that apply

         Who incurred the debt? Check one                                 D     Contingent

          E      Debtor'1 only                                            E     Untiquidated

          E      Debtor 2 only                                            E     Disputed

          I                                                               Type of PRIORITY unsecured claim:
                 D"btor. 1 and Debtor 2 only

          E      nt least one of the debtors and another
                                                                             I Domestic supPort obligations
          fl     Cneck if this claim is for      a community debt            E Ta*es and certain other debts you owe the government
          ls the claim subject to offset?
                                                                             E Ctaims for death or personal injury while you were intoxicated
          lruo                                                               E otner. Specity
          fl     vet

                                       q1!'| q   NqRlqRlIY          gqcqred Cla i'!q
f,lff                !!9t A ll pf !o                         tJ n


    3.   Do any creditors have nonpriority unsecured claims againstyou?

         fl                                                                  to the court with your other schedules
               No. you have nothing to report in this part. Submit this form

         I     ves.
                                                                                           orderofthecreditorwhoholdseachclaim lfacreditorhasmorethanonenonpriority
    4.   Listall ofyournonpriorityunsecuredclaimsinthearphabetical
                                                                                                                                                                          of
                                                                           part 3.lf you have more than-three nonpriority unsecured claims fill out the continuation Page
         unsecuredc|aim,liStthecreditorSeparateIyforeacnctarri'ioreac|rctaimlisteo,ioentify_wh
                                               list the other creditors in
         than one creditor holds a particular claim,
         Pad'2                                                                                                                                          Total claim




                                                                                                                                                                      Page 3 of   13
    Official Form 106 E/F                                           Schedule E/F: creditors Who Have Unsecured claims
                                                                                                                                                                Best Case BankruPtcY
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                                                       -\Wbestcasecom
                        Case 13-53410                   Doc 67        Filed 01/15/18 Entered 01/15/18 16:10:24                                         Desc Main
Debtor      1    Twillie S. Lovett                                     Document     Page 6 of 15
Debtor      2    Amantha Lovett                                                                                 Case number      (it   lno')

                                                                                                                                                                Unknown
t41     )   {qlvqnce Bulezru of              Co]!9cl!91q               Last 4 disits of account number
            NonPrioritY Creditor's Name
            135 Lamar St.                                              When was the debt incurred?
            Macon, GA 31204
            Nurnber Street City State ZtPJoae                          As of the date you file, the claim is: Check all that apply
            who incurred the debt? Check one.
            I        Debtolt only                                      fl       Contingent
            !        Debtor 2 only                                     El       Unllquidated

            I        D"btor   1   and Debtor 2 only                    E        Disputed

                                                      another          Type of NoNPRloRlrY unsecured claim:
            E        At least one of the debtors and
            n        cnecr    if this claim is for a community
                                                                       E        student loans
            debt                                                       E  Ootigations arising out of a separation agreement or divorce that you did not
            ls the claim subject to offset?                            report as priority claims

             Iruo                                                      E        oeOts to pension or profifsharing plans, and other similar debts

             fl      ves                                               I        Otn", Specrry collections

-
                                                                                                                                                                      $0.00
    4   2    Ashlev Fundinq LLC                                        Last 4 digits of account number
             Nonpriority Creditols Name
             LabCorP of America                                        When was the debt incurred?
             Resurgent CaPital Services
             PO Box 10587
             Greenville, SC 29603
             Nurnber Street City Sfate ZtP CoOE                        As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one
             E       Debtor 1 only                                      il      Contingent

                El   Debtor 2 only                                      E       Unliquidated

                I     D"btor 1 and Debtor 2 onlY                        E  oisputed

                                                       another          Type of NoNPRloRlrY unsecured claim:
                E    Rt least one of the debtors and
                                                      community         E       Student loans
                fl  check if this claim is for a
                debt                                                    E  obligations arisjng out of a separailon agreement or divorce thal you did not
                ls the claim subject to offset?                         report as priority claims

                Ino                                                     E        oents to pension or profilsharing plans, and other similar debts

                fl yes                                                  I othu; specify medical

                                                                        Last 4 digits of account number                                                            Unknown
                NonprioritY Creditor's Name
                        2036                                            When was the debt incurred?
                PO Box
                l{@rtq,ly!48!e0
                Number Street CitY State ZtPtoOe                        As ofthe date you file, the claim is: Check all that apply
                Who incurred the debt? Check one
                El    Debtor 1 only                                        E Contingent
                El    Debtor 2 only                                        E Untiquidated
                I     D"bto|. 1 and Debtor 2 only                          E oisputed
                                                          another          Type of NoNPRloRlrY unsecured claim:
                fl    At least one of the debtots and
                                  if this claim is for a community
                                                                           E     student loans
                I     cneck
                                                                                                                                                you dld not
                debt                                                       E  Obligations arising out of a separation agreement or divorce that
                ls the claim subject to offset?                            report as priority claims

                 lno                                                        E    o"bts to pension or profit-sharing plans, and other similar debts

                 E    ves                                                   I    other. specify




                                                                                                                    Claims                                         Page 4 of    13
    Official Form 1oo         E/F                             Schedule E/F: Creditors Who Have Unsecured
                                                                                                                                                              Best Case Bankruptcv
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                      Case 13-53410                   Doc 67            Filed 01/15/18 Entered 01/15/18 16:10:24                                         Desc Main
Debtor     1    Twillie S. Lovett                                        Document     Page 7 of 15
Debtor     2    Amantha Lovett                                                                                   Case number     (if [now)


                                                                                                                                                                  Unknown
!!         Ceyq!ryPrllolio.Ssrvices
           Nonpriority Creditof s Name
                                                                        Last 4 digits of account number


           500 Summit Lake Drive                                        When was the debt incurred?
           Suite 400
           vah4le, NY105e5
           r.rurnoer Streei Cnv State    ztp-oOe                        As of the date you file, the claim is: Check all that apply
           Who incuned the debt? Check one
           fl    Debtor 1 only                                          I       Contingent
           E     Debtor 2 only                                          fl      Untiquidated
           I        D"btor 1 and Debtor 2 only                          E oisputed
           E                                       another              Type of NoNPRloRlrY unsecured claim:
                 Rt least one of the debtors and
                           if this claim is for a community
                                                                        El student      loans
           E     cnecr
           debt                                                         E  Obtigations arising out of a separation agreement or divorce that you did nol
           ls the claim subject to offset?                              report as priority claims

           Iruo                                                         E       Oents to pension or profilsharing plans, and other similar debts

           E Yes                                                        I       otner. Specify



4   5      Coliseum Medical Center                                      Last 4 digits of account      number                                                       Unknown
           Nonpriority Creditoas Name
           c/o Resurgent Capital Services                               When was the debt incurred?
           PO Box 1927
           Greenville, SC 29602
           Number Street City State ZIP Code                            As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
           I Debtor 1 only                                              E       Contingent
           D Debtor 2 only                                              E       Unliquidated

           I o"btor l and Debtor 2 only                                 E       Disputed

                                                    another             Type of NoNPRloRlrY unsecured claim:
            El At teast one of the debtors and
            I  crrecx if this claim is for a       community             n      student loans
           debt                                                          E  Obligations arising out of a separation agreement or divorce that you did not
           ls the claim subject to offset?                               report as pnority claims

            Iruo                                                            E   Debts to pension or profilsharing plans, and other similar debts

            E ves                                                           I   otner. Specify


iu                                                                          Last 4 digits of account number                                                              $0 00
            Coliseum Medical Center
            Nonpriority Creditoas Name
            P O Box 923567                                               When was the debt incurred?
               Nqiglog!-G&q001q
               Number Street CitY State ZIP Code                            As ofthe date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
               E    Debtor 1 only                                           E Contingent
               n     Debtor 2 only                                          E Unliquidated
               I     D.btor. 1 and Debtor 2 only                            E oisputed
                                                     another                Type of NoNPRloRlrY unsecured claim:
               E    At least one ofthe debtors and
               fl    checr   if this claim is for a community
                                                                            E    student loans
               debt                                                         E  Obligations arising out of a separation agreement or divorce that you did not
               ls the claim subject to offset?                              report as priority claims

               lruo                                                         E    Deots to pension or profit-sharing plans, and other similar debts

               fl    yes                                                    I    oth"r. Specrry medical




                                                                                 CreditorsWhoHaveUnsecuredClaims                                                     Page 5of    13
Official   Form106E/F                                         ScheduleE/F:
                                                                                                                                                               Besl Case Bankruptcy
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                    Case 13-53410                             Doc 67           Filed 01/15/18 Entered 01/15/18 16:10:24                                         Desc Main
Debtor   1    Twillie S. Lovett                                                 Document     Page 8 of 15
Debtor   2    Arngltha Lqyg!!
                                                                                                                       Case number      (it t<now)



4   7    Dental Care             Center                                        Last 4 digits of account number                                                           Unknown
         Nonpriority Creditor's Name
          3432 Mercer University Drive                                         When was the debt incurred?

         lacon, GA 31204
         Number Street City State Zlp Code                                     As ofthe date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          El      Debtor 1 only                                                E       Contingent
          ! Debtor z only                                                      I       Unliquidated
          I Debtot 1 and Debtor 2 only                                         E  oisputeo
          ! At least one of the debtors and another                            Type of NoNPRloRlrY unsecured claim:

          E cneck if this ctaim is for a community                             E       student loans
          debt                                                                 !  Obtigations arising out of a separation agreement or divorce that you did nol
          ls the claim subject to offset?                                      report as priority claims

          lno                                                                  fl      OeOts to pension or profilsharing plans, and other similar debts

          E       yes                                                          I       other Soecifv medical


4   8     Devon D. Ford                                                        Last 4 digits of account number                                                                 $0.00
          Nonpriority Creditor's Name
          c/o Joel Grist, Attorney                                             When was the debt incurred?
          915 Hill Place
          Suite 102
          Veg.on,q4!120!                                                       As ofthe date you file, the claim is: Check all that apply
          tlumber Slreet City State Zp CoOe
          Who incurred the debt? Check one.
          E       Debtor   t   only                                                D   Contingent

          I       Debtor 2 only                                                    E   unliquidated

          n       Debtor 1 and Debtor 2 only                                       E   Disputed

          E                                              another               Type of NoNPRloRlrY unsecured claim
                  At least one of the debtors and
          I       cnecr if this claim is for a          community                  E   student loans
          debt                                                                     E  Obligations arising out of a separation agreement or divorce that you did not
          ls the claim subject to offset"                                          report as priority claims

           Iruo                                                                    E   oebts to pensron or profit-sharing plans, and other similar debts

           E yes                                                                   I   otner Specify


o   nI     Equily Auto Loan                                                        Last 4 digits of account number                                                          Unknown
           f.tonpnonty Creditorb Name
           3597 Mercer UniversitY Drive                                            When was the debt incurred?
          Macon,GA 31204
           Number Street City State ZIP Code                                       As ofthe date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           E Debtor t only                                                         E Contingent
           E Debtor z only                                                         E Unliquidated
           I D"btor l and Debtor 2 only                                            D oisputed
                                                                                   Type of NoNPRloRlrY unsecured claim
           E At least one ofthe debtors and another
           fl cnecx if this claim is for a community                               E    Student loans
           debt                                                                    E  Obligations arising out of a separation agreement or divorce that you did nol
           ls the claim subject to offset?                                         report as priority claims

             I     llo                                                             !    Oebts to pension or profifsharing plans, and other similar debts

             fl    ves                                                             I    otner. Specify




Official Form 106        E/F                                         Schedule E/F: CreditorsWho Have Unsecured            Claims                                            Page 6 of   13

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Debtor     1       Twillie S. Lovett
                                                                    Document     Page 9 of 15
Debtor     2       Amantha Lovett                                                                          Case number      (rt know)



4.1                                                                                                                                                       Unknown
o          Feo Loan >ervlclng                                      Last 4 digits of account number
           Nonpriority Creditois Name
           PO Box 69184                                            When was the debt incurred?
           Hanisburg,             Pt1Z06
           Number Street City State 2lp Coce                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
           E Debtor 1 only                                         E       Contingent
           I Debtor 2 only                                         E       Unliquidated
           I D"bto, 1 and Debtor 2 only                            !       Disputed

           ! At least one of the debtors and another               Type of NoNPRIORITY unsecured claim:

           fl cneck if this ctaim is for a community               !       student loans
           debt                                                    E  Obligations arising out of a separation agreement or divorce that you did not
           ls the claim subject to offset?                         report as priority claims

           lruo                                                    E       Oents to pensron or profilsharing plans, and other similar debts

           !       Yes                                             I       other. Specify



                     Capital/Lowes                                 Last 4 digits of account number                                                         Unknown
1t         GE
           Nonpriority Creditor's Name
           ATTN: BK Dept, PO Box                      103104       when was the debt incurred?
           Rosyyg!!, GA 30q76
           NumbeTSireet cify State           Zifcooe               As ofthe date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
           ! Debtor 1 only                                         E Contingent
           E Debtor 2 only                                         E Unliquidated
           I o"otor. 1 and Debtor 2 only                           E Disputed
                                                                   Type of NoNPRloRlrY unsecured claim:
           ! At least one ofthe debtors and another
           ! cneck if this claim is for a community                 !      student loans
           debt                                                     tlObligations arising out of a separation agreement or divorce that you did not
           ls the claim subiect to offset?                         report as priority claims

            lruo                                                    E      Oebts to pension or profifsharing plans, and other similar debts

            fl      ves                                             I      other. specify



 41         r:r trr ql                                              Last 4 digits of account number
            Itonpriorrty Credit,cr;s Name
            PO Box 7860                                             When was the debt incurred?
            Madlgon, W!qq707
            t'tumoe-Street City state 2ip         coo.              As ofthe date you file, the claim is: Check all that apply
            Who incurred the debt? Check one
            E       Debtor 1 only                                   E Contingent
            fl      Debtor 2 only                                   E Unliquidated
            I       D"bto,      1 and Debtor 2 only                 D Disputed
                                                        another     Type of NoNPRloRlrY unsecured claim:
               I    At teast one ofthe debtors and
               !    cnecr       if this claim is for a community
                                                                    !       student loans
            debt                                                    fl obligations arising out of a separation agreement or divorce that you did not
            ls the claim subject to offset?                         report as priority cla'ms

               lruo                                                 f]      OeOts to pension or profilsharing p1ans, and other s milar debts

               E    yes                                                I    other. Specify




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                                                                                                                                                       Besi Case Bankfuplcy
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Debtor     2    Amantha Lovett                                                                           Case number      (rr know)




            LVNV Funding LLC                                        Last 4 digits of account number                                                           Unknown
            Nonpriority Creditois Name
            c/o Resurgent Capital         Services                  When was the debt incurred?
            PO Box 10587
            Greenville, SC 29603
            Number Street City State Zlp   Code                     As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
            E Debtor'1 only                                         E   Cont,ngenr
            E Debtor z only                                         E   Unlourdated
            I D"btor 1 and Debtor 2 only                            E   Disputed
            E nt teast one of the debtors and another               Type of NONPRIORITY unsecured claim:

            E cnect if this claim is for a community                I   student loans
            debt                                                    E   Outigations arising out of a separation agreement or divorce that you did not
            ls the claim subject to offset?                         reporl as priority claims
            I ruo                                                   E   Oents to pension or profit-sharing plans, and other similar debts

            ! yes                                                   I   other. soecifv




it          Macon-Bibb County Transit               Aut!9{y         Last 4 digits of account number                                                                $0 00
            Nonpriority Creditor's Name
            175 Lower Bay Street                                    When was the debt incurred?
            Macon, GA31206
            Number Slreet City State Zlp Code                       As ofthe date you file, the claim is: Check all that apply
            Who incurred the debt? Check one
            ! Debtor 1 only                                         .   Contingent
            I Debtor 2 only                                         n   Unliquidated

            E Debtor 1 and Debtor 2 only                            E   Disputed

            fl At teast one of the debtors and another              Type of NoNPRloRlrY unsecured claim:

            fl cnecr if this claim is for a community               E   student loans
            debt                                                    E  Obligations arising out of a separation agreement or divorce that you did not
            ls the claim subject to offset?                         report as priority claims

            Iruo                                                    E   Oents to pension or profit-sharing plans, and other similar debts

            El yes                                                  I   other. Specify



            Mgraucf   el Co                                         Last 4 digits of account number                                                           Unknown
            Nonpriority Creditor's Name
            74923 US Hwy 1                                          When was the debt incurred?

            lndian We!lgl?}92210
            ruumner Streercity Siaie Zlp Cooe                       As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
            n   Debtor 1 only                                       E Contingent
            E   Debtor z only                                       fl Untiquidated
            I   D.bto,   1 and Debtor 2 only                        E Disputed
            !   At least one of the debtors and  another            Type of NoNPRloRlrY unsecured claim:

            E  cnecx     if this claim is for a community
                                                                    E   student loans
            debt                                                    E  Obligations arising out of a separation agreement or divorce that you did not
            ls the claim subject to offset?                         report as priority claims

            lruo                                                    E   oebtr to pension or profit-sharing plans, and other similar debts

            E   yes                                                 I   otner. Specify




Offjciat   Form106E/F                                       ScheduleE/F:CreditorsWhoHaveUnsecuredClaims                                                       Page 8of     13

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                                                         bestcase                                                                                        Best Case Bankruptcv
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Debtor     2 A4qnlha lovelt                                                                                        Case number      (it t<now)


41
6          Nationstar Mortgage                                               Last 4 digits of account number                                                         Unknown
           Nonpriority Creditor's Name
           Attn.: BR Dept.                                                   When was the debt incurred?
           PO Box 630267
           ll{!!g TX 25063
           tlurnOer SGet Crty State Zlp        Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one
            fl   Debtor   t   only                                           E Contingent
            E    Debtor 2 only                                               E Unliquidated
            I    D"btor. 1 and Debtor 2 only                                 E Disputed
            ! nt teast one of the debtors and another                        Type of NONPRIORITY unsecured claim:

            E cnecr if this claim is for a community                         I    student loans
           debt                                                              E  Obtigations arising out of a separation agreement or divorce that you did nol
           ls the claim subject to offset?                                   report as priority claims

            I    lto                                                         E    oents to pension or profit-sharing plans, and other similar debts

            !    yes                                                         I    otrer. Specify


A1
                                                                                                                                                                     Unknown
;           Pioneer Credit                                                   Last 4 digits of account number
            rlonprioritv c reortor;J r.ranre
            PO Box 634                                                       When was the debt incurred?

            VqSg!.qA 3120?
            Number Street City State Zlp Code                                As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one
            D    Debtor   t   only                                           E    Contingent
            E Debtor 2 only                                                  E    Untiquidated
            I D.btor l and Debtor 2 only                                     E  oisputed

            E At least one of the debtors and another                        Type of NoNPRloRlrY unsecured claim:

            fl cneck if this claim is for a community                        E    student loans
            debt                                                             E  Obligations arising out of a separation agreement or divorce that you did not
            ls the claim subject to offset?                                  report as priority claims

            lruo                                                             E    Debts to pension or profilsharing ptans, and other similar debts

            E    yes                                                         I    otner. specify



4.1
:;          Prestige Financial          Services                             Last 4 digits of account number                                                          Unknown
            Nonprjority Creditor's Name
            BR Dept                                                          When was the debt incurred?
            PO Box 26707
            Salt Lake City, UT 81126
            Number Street City State Zlp Code                                As ofthe date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
            E    Debtor   t   onty                                           . Contingent
            E    Debtor 2 only                                               fl Untiquidated
            I    D"btor 1 and Debtor 2 only                                  E Disputeo
                                                 another                     Type of NoNPRloRlrY unsecured claim:
            I    At least one of the debtors and
            E    ctrect< if this claim is for a community
                                                                              E   student loans
            debt                                                              E Obligations arising out of a separation agreement or divorce that you did not
            ls the claim subject to offset?                                  report as priority claims

            lno                                                               !   oebts to pension or profif sharing plans, and other similar debts

            E yes                                                             I   otner. Specify




                                                               ScheduleE/F:CreditorsWhoHaveUnsecuredClaims                                                             Page 9of    13
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  Debtor 2      Amantha Lovett                                                                               Case number (il<no")

  41
  n          Progressive Insurance                                       Last 4 digits of account number
             Nonpriority Creditor's Name
            c/o NCO Financial Systems,               lnc             When was the debt incurred?
            507 Prudential Road
            Hoq[qm, PA 19044
            Number Street City State Ztp Code                        As ofthe date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
            E   Debtor    t    onty
                                                                      E     Contingent
            E   Debtor 2 onty
                                                                      E     Unliquidated
            I   o"btor.   '1   and Debtor 2 only                      E     oisputed
            E   At least one of the debtors and   another            Type of NONPRIORITY unsecured claim:

            I   cnect     if this claim is for a community           E     Student loans
            debt                                                     E  Obugations arising out of a separation agreement or divorce that you did not
            ls the claim subject to offset?                          report as priority claims
            lruo                                                     I     Dents to pension or profit-sharing plans, and other similar debts

            E   yes                                                  I     other. Specify

il
  4)-
  O         RAC     ACceptanCe                                       Last 4 digits of account number                                                           Unknown
            Nonpriority Creditor's Name
            5501 Headquarters              Drive                     when was the debt incurred?
            Pbno,fX75024
            Number Street City State Zlp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one
            fl Debtor 1 onty                                         E     Contingent
            E Debtor 2 onty                                          E     Untiquidated
            I D.btor 1 and Debtor 2 only                             fl    Disputeo
            E At least one of the debtors and another                Type of NONPRIORITy unsecured claim:

            ! cnecr if this claim is for a community                 E     Student loans
            debt                                                     E  Obligations arisjng out of a separation agreement or dlvorce that you dtd not
            ls the claim subject to offset?                          report as priority claims
            lruo                                                     E     OeOts to pension or profifsharing plans, and other similar debts

            n yes                                                    I     other. Specify


 4)
 1-         Schuessler Pope Kehl &                 Barnes            Last 4 digits of account number                                                           Unknown
            Nonpriority Creditor's Name
           1062 Forsyth St, Ste. 38                                  When was the debt incurred?
           Macon, GA 31 201
           Number Street City State Zlp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one
           E Debtor t onty                                           E     Contingent
           fl Debtor 2 only                                          E     Untiquidated
           I oubto|. 1 and Debtor 2 only                             E     Disputed
           E nt teast one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           E cnect if this ctaim is for a community                  E     Student loans
           debt                                                      E  Obligations arising out of a separation agreement or divorce that you did not
           ls the claim subject to offset?                           report as priority claims
           Ito                                                       E     DeOts to pension or profilsharing plans, and other similar debts

           E yes                                                     I     Other.   Soecifv medical




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Debtor   2      Amantha Lovett                                                                                  Case number      (rt t<now)


A'
z-        Sprint Nextel Correspondence                                Last 4 digits of account number                                                             Unknown
          Nonpriority Creditor's Name
          ATTN: Bankruptcy           Dept.                            when was the debt incurred?
          PO Box 7949
          Overland Pet          49 m?07-0949
          Number Street City State ZlpCode                            As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
          E Debtor 1 only                                                 E Contingent
          E Debtor 2 only                                                 E Untiquidated
          I D"btor. 1 and Debtor 2 only                                   D Dispureo
          il Rt teast one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          E cnecx if this claim is for a community                        E    Student loans
          debt                                                            fl Obligations arising out of a separation agreement or divorce that you did not
          ls the claim subject to offset?                                 report as priority claims

          I lo                                                            E    Oebts to pension or profilsharing plans, and other similar debts

          fl Yes                                                          I    Other. soecrtv



4.2                                                                                                                                                               Unknown
3         Strategrc Kecovery                                              Last 4 digits of account number
          Nonpriority CredrtoiG Name
          7668 Warren Parkway                                             When was the debt incurred?
          Suite 325
          Frisco, TX 75034
          Number Street City State Zlp Code                               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
          E Debtor 1 only                                                 E    Contingent
          E Debtor 2 only                                                 E    Unliquidated
          I o.btor l and Debtor 2 only                                    E  oisputed

          E nt teast one of the debtors and another                       Type of NoNPRloRlrY unsecured claim:

          E cnecr if this claim is for a community                        E    student loans
          debt                                                            E  Obtigations arising out of a separation agreement or divorce that you did not
          ls the claim subject to offset?                                 report as priority claims

           lruo                                                           fl   oebts to pension or profit-sharing plans, and other similar debts

           fl   yes                                                       I    otner. Specify



42                                                                                                                                                                 Unknown
4         Title Max                                                       Last 4 digits of account number
           Nonpriority Creditor's Name
          ATTN: BK Dept                                                   When was the debt incurred?
           15 Bull Street, Suite 200
           Savannah, GA 31401
           Number Street City State ztp-ode                               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           E Debtor 1 only                                                E    Contingent
           E Debtor 2 only                                                E    Unliquidated
           I Debtor l and Debtor 2 only                                   E    Disputed

           fl At least one of the debtors and another                     Type of NoNPRloRlrY unsecured claim:

           E cneck if this ctaim is for a community                       E    student loans
           debt                                                           E  Obtigations arising out of a separation agreement or divorce that you did not
           ls the claim subject to offset?                                report as priority claims

           lruo                                                           fl   Debts to pension or profit-sharing plans, and other similar debts

           fl    yes                                                      I    other. Specify




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     Debtor 2
              lmq4Jha lovqlt                                                                                               Case number      (ir rnow)

     4)
     5
         -    US Department of Education                                               Last 4 digits of account number
              f.t-n prrority
                                                                                                                                                                              Unknown
                               C reO   rtof s   t   t   amJ
              Claims Fiting Unit                                                    When was the debt incurred?
              PO Box 8973
              Madison, Wl 53708
              t'tumner streetbnv state                   zp   cooe                  As of the date you file, the ctaim is: check ail that apply
              Who incurred the debt? Check one.
              E    Debtor 1 onty
                                                                                    E    Contingent
              E    Debtor 2 onty
                                                                                    E    Untiquidated
              I    Debtor 1 and Debtor 2 only                                       E    oisputed
              E                                another
                   At least one of the debtors and                                  Type of NONpRIORITy unsecured claim:

              fl Cneck if this claim is for a communitv                             E    Student loans
             debt                                                                   E Obligations arising out of a separatjon agreement or divorce that vou did not
             ls the claim subject to offset?                                       report as priorjty claims
             INo                                                                    E    OeOts to pension or profilshanng ptans, and other sjmilar debts

             E     yes
                                                                                    I    otner. Specify


    4   2    wells Fargo Banr                                                      Last 4 digits of account number                                                                $0.00
             Nonpriority Creditor'S Name
             PO Box       63491                                                    When was the debt incurred?
             tqr     Feldsco-Q4\ 9416!
             Number Street City State Zlp Code                                     As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one
             E Debtor i onty                                                       E     Contingent
             E Debtor z onty                                                       E     Untiquidateo
             I D"btor 1 and Debtor 2 only                                          n     Disputed
             I At least one of the debtors and another                             Type of NONPRIORITy unsecured claim:

             E cnecr if this claim is for a community                              E     Student loans
             debt                                                                  E  Obtigations arising out of a separation agreement or dlvorce that you did not
             ls the claim subject to offset?                                       report as priority claims
             lruo                                                                  E     Oebts to pension or profifshaflng ptans, and other similar debts

             fl   yes                                                              I     other. Specify


 A'     -
 7           West AsSet           Management                                       Last 4 digits of account number                                                           Unknown
             Nonoriorjtv Creditor's Name
             2703 N. Hwy 75                                                        When was the debt incurred?
             Sherman, TX 75090
             Number Street City State Zlp                     Code                 As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
             E    Debtor 1 onty                                                    I    Contingent
             El   Debtor 2 only
                                                                                   I    Untiquidated
             I Debto, 1 and Debtor 2 only                                          E    Oisputed
             E At teast one of the debtors and another                             Type of NONpRIORITY unsecured claim:

             E ctrect< if this claim is fora community                             E    Student loans
             debt                                                                  E  Obligations arising out of a separation agreement or divorce that you did not
             ls the claim subject to offset?                                       report as priority claims
             I ruo                                                                 E    Debts lo pension or profit-sharing plans, and other similar debts

             fr yes                                                                r    oth"r. 50""1ry collections


EEErJ             t-ist Other9lo EerNotified About a Debt Thalyqu,/\tready Listed
5   Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
    is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
    have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. lf you do not have additional persons to be
    notified for any debts in Pads 'l or 2, do not fill out or submit this page.

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  Debtor   2 Amantha Lovett                                                                                       Case number    (ir r<now)


  Name and Address                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
  Bradley S. Wolff                                                   Ltne 4.8 of (Check   one):              fl   part t Creditors with Priority Unsecured Claims
  Swift, Currie, McGhee & Heirs, LLP                                                                                    '
                                                                                                             I    purt Z, Creditors witn Nonpriority Unsecured Claims
  The Peachtree, Suite 300
  1355 Peachtree Street, N.E.
  Atlanta, GA 30309
                                                                      Last 4 digits of account number

  Name and Address                                                   On whlch entry in Part 1 or Part2 did you list the orjginal creditor?
  Cubbedge Snow, lll, Esq                                            Line 4.8 ol (Check  one);               E   part t: Creditors with priority Unsecured Claims
  Martin Snow, LLC
  Post Office Box 1606
                                                                                                             I    P^rLZ, Creditors with Nonpriority Unsecured Clairns

  Macon, GA 31201-1606
                                                                     Last 4 digits of account number

  Name and Address                                                   On which entry in Part 1 or Part 2 did you list the original credrtor?
 Joel A. Howe                                                        Line 4.8 of (Check  one):               E    part t: Creditors with priority Unsecured Claims
 Martin Snow, LLP
                                                                                                             I    pan,Z. Creditors with Nonprioritv Unsecured Claims
 Post Office Box 1606
 Macon, GA31202
                                                                     Last 4 digjts of account number

 Name and Address                                                    On which entry an Part 1 or Paft2 did you ljst the original creditor?
 Phillip Edward Friduss                                              Line 4.8 of (Check  one):               E   Part t, Creditors with priority Unsecured Ctaims
 Hall Booth Smith, PC                                                                                        I    pa,tZ. Creditors with NonDrioritv Unsecured Claims
 191 Peachtree Street, N.E. Suite 2900
 Atlanta, GA 30303
                                                                     Last 4 dioits of account number


EEEII          nqq the Aqqq!919l E4c!t Type or U4qecured Gtaim
6. Total theamountsofcertaintypesof unsecuredclaims.Thisinformationisforstatistical                           reportingpurposesonly.23U.S.C.Sl59.Addtheamountsforeach
   type of unsecured claim.

                                                                                                                                       Total Claim
                         6a.    Domestic support obligations                                                      6a        $                           000
        Total
      claims
  from Part 1            6b    Taxes and certain other debts you owe the government                               6b.       $                           0.00
                         6c    Claims for death or personal injury while you were intoxicated                     6c.       $                           0.00
                         6d     Other. Add all other prioritv unsecured claims. Write that amount here            6d        s                           0.00

                         6e.   Total Priority. Add Iines 6a through 6d                                                                                  0.00

                                                                                                                                       Total Claim
                         6f    Student loans                                                                      6f                                    0.00
          Total
      claims
  from Part 2            6g    Obligations arising out of a separation agreement or divorce that
                               you did not repon as priority claims                                               6g        $                           0.00
                         6h    Debts to pension or profit-sharing plans, and other similar debts                  6h        s                           o.oo
                         6i.   Other. Add all other nonpriority unsecured claims. Write that amount               6i
                               here.                                                                                                                    0.00

                         6j    Total Nonpriority. Add lines 6f through 6i.                                        6j                                    0.00




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